                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF IOWA
                                     DUBUQUE DIVISION

UNITED STATES OF AMERICA,                   )

              Plaintiff,                    )

        vs.                                 )      NO. 18-cr-1027

JEREMY KIEFFER,                             )

              Defendant.                    )


                                MOTION TO WITHDRAW

        COMES NOW Jennifer Frese and hereby moves to withdraw and states the

following:

   1.   The undersigned was appointed to represent the Defendant.

   2. On July 19, 2018, Attorney Matthew Noel entered and appearance on behalf of

        the Defendant.

   3. The undersigned should be terminated as counsel of record.


                                            JEREMY KIEFFER, Defendant

                                            _/s/ Jennifer Frese          ______
                                            Jennifer Frese, Attorney AT0008317
                                            Johnson, Bonzer, and Barnaby PLC
                                            103 S 2nd Ave, Marshalltown, Iowa 50158
                                            Phone: 515-955-2193 (Cell: 515-570-4989)
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                                            ATTORNEY FOR DEFENDANT




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